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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


  AMERICAN FEDERATION OF
  GOVERNMENT EMPLOYEES, AFL-CIO,


  AMERICAN FEDERATION OF                                    CIVIL ACTION
  GOVERNMENT EMPLOYEES, AFL-CIO,                            NO. 1:25-cv-10276
  LOCAL 3707,


  AMERICAN FEDERATION OF STATE,
  COUNTY AND MUNICIPAL EMPLOYEES,
  AFL-CIO,

  and

  NATIONAL ASSOCIATION OF GOVERNMENT
  EMPLOYEES, INC.,

                                  Plaintiffs,

                             v.

  CHARLES EZELL, in his official capacity as Acting
  Director of the Office of Personnel Management,

  and

  OFFICE OF PERSONNEL MANAGEMENT,

                                  Defendants.


 UNOPPOSED MOTION FOR LEAVE TO FILE BRIEF OF AMICI CURIAE STATES
   OF HAWAI‘I, MASSACHUSETTS, ARIZONA, CALIFORNIA, COLORADO,
  CONNECTICUT, DELAWARE, ILLINOIS, MAINE, MARYLAND, MICHIGAN,
   MINNESOTA, NEVADA, NEW JERSEY, NEW YORK, NORTH CAROLINA,
 OREGON, RHODE ISLAND, VERMONT, WASHINGTON, AND THE DISTRICT OF
 COLUMBIA IN SUPPORT OF PLAINTIFFS’ APPLICATION FOR A TEMPORARY
                       RESTRAINING ORDER

        Proposed Amici Curiae Hawai‘i, Massachusetts, Arizona, California, Colorado,

Connecticut, Delaware, Illinois, Maine, Maryland, Michigan, Minnesota, Nevada, New Jersey,
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New York, North Carolina, Oregon, Rhode Island, Vermont, Washington, and the District of

Columbia (“Amici States”) move for leave to file an amicus brief in support of Plaintiffs’

application for a temporary restraining order. In support of the motion, Amici States assert the

following:

        1.      Amici States include sovereign states that are home to hundreds of thousands of

federal employees who provide important government services to Amici States and their

residents.

        2.      Amici States support Plaintiffs’ application for a temporary restraining order

because the public interest is harmed by the “Fork in the Road” Directive issued by the U.S.

Office of Personnel Management on January 28, 2025 (“Fork Directive”) that is the subject of

Plaintiffs’ lawsuit.

        3.      It is within a court’s “sound discretion” whether to permit amicus briefing.

Strasser v. Doorley, 432 F.2d 567, 569 (1st Cir. 1970). Amicus briefing may be permitted “to

assist the court in cases of great public interest by making suggestions to the court, by providing

supplementary assistance to existing counsel, and by insuring a complete and plenary

presentation of difficult issues so that the court may reach a proper decision.” Students for Fair

Admissions, Inc. v. President & Fellows of Harvard Coll., 308 F.R.D. 39, 52 (D. Mass.), aff’d,

807 F.3d 472 (1st Cir. 2015) (internal citations and quotations omitted).

        4.      The proposed brief will assist the Court in its consideration of the pending

motion, because Amici States can speak to the disruption to crucial federal-state partnerships

caused by the Fork Directive and why immediate relief is in the public interest.

        5.      Counsel for the Amici States have conferred with counsel of record for the parties

in this case and the Plaintiffs and Defendants do not oppose this motion.




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       6.       A true and correct copy of Amici States’ proposed brief is attached to this motion

as Exhibit A.

                                          CONCLUSION

       For the foregoing reasons, Amici States respectfully request that the Court grant the

motion for leave to file the attached brief.




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Respectfully submitted,

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             CERTIFICATION OF COMPLIANCE WITH LOCAL RULE 7.1

       I, David D. Day, Special Assistant to the Attorney General for the State of Hawai’i,
hereby certify that I have conferred with counsel of record for the parties in this case via email in
a good faith attempt to resolve and narrow the issues posed by the motion. I further certify that
the motion is unopposed.


                                                      /s/ David D. Day
                                                      David D. Day
                                                      Special Assistant to the Attorney General
                                                      State of Hawaiʻi Department of the Attorney
                                                      General


                                 CERTIFICATE OF SERVICE

        I, Hannah C. Vail, hereby certify that I have this day, February 9, 2025, served the
foregoing document upon all parties of record, by electronically filing to all ECF-registered
parties and by sending a copy, first-class mail, postage prepaid to all unregistered parties.

                                                              /s/ Hannah C. Vail
                                                              Hannah C. Vail




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